                                                                    et'qq
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                                                                                       wr{fr"rq

                         UNITED STATES DISTRICT COURT
                            DISTRICT OF MINNESOTA


 LiNITED STATES OF AMERICA,                        INDICTMENT

                      Plaintiff,                    l8 u.S.C. $ 22s2(a)(4)(B)
                                                    l8 u.s.c. s22s2(b)(2)
               v.                                  18 U.S.C. S 22s3
                                                   21 U.S.c. $ 8s3(p)
 GARY ROBERT DRAKE,

                      Defendant.

      THE UNITED STATES GRAND JURY CHARGES THAT:

                                      COUNT 1,
                    (Access with Intent To View Child Pornography)

       On or about January 15, 2015, in the State and District of Minnesota, the defendant,

                                   GARY ROBF,RT DRAKE,

having previously been convicted under the laws of any State relating to aggravated sexual

abuse, sexual abuse, or abusive sexual conduct involving a minor, specifically two counts

of Criminal Sexual Conduct in the Second Degree, in or about January 2007 in Dakota

County, Minnesota, court file number, 19K606002211 16, did knowingly access with intent

to view one or more matters which contained visual depictions that had been mailed,

shipped and transported using a means and facility of interstate and foreign commerce,

including by computer, and in and affecting interstate and foreign commerce, where the

production of such visual depictions involved the use of a minor engaging in sexually

explicit conduct and such depictions were of such conduct, all in violation of Title              18,

United States Code, Sections 2252(a)@)(B) and 2252(b)(2).

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                                                                        U.S. DISTRICT CUUfi   i   IVIPLS
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     U.S. v. Gary Robert Drake


                                                COUNT 2
                             (Access with Intent To View Child Pornography)

             On or about November 13, 2018, in the State and District of Minnesota, the

     defendant,

                                      GARY ROBERT DRAKE,

     having previously been convicted under the laws of any State relating to aggravated sexual

     abuse, sexual abuse, or abusive sexual conduct involving a minor, specifically two counts

     of Criminal Sexual Conduct in the Second Degree, in or about January 2007 in Dakota

     County, Minnesota, court file number, 19K6060022I116, did knowingly access with intent

     to view one or more matters which contained visual depictions that had been mailed,

     shipped and transported using a means and facility of interstate and foreign commerce,

     including by computer, and in and affecting interstate and foreign commerce, where the

     production of such visual depictions involved the use of a minor engaging in sexually

     explicit conduct and such depictions were of such conduct, all in violation of Title    18,


     United States Code, Sections 2252(a)@)(B) and 2252(b)(2).

                                              COUNT 3
                                  (Possession of Child Pornography)

             On or about November       27   , 2018, in the State and District of Minnesota, the
     defendant,

                                     GARY ROBERT DRAKE,

     having previously been convicted under the laws of any State relating to aggravated sexual

     abuse, sexual abuse, or abusive sexual conduct involving a minor, specifically two counts
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of Criminal Sexual Conduct in the Second Degree, in or about January 2007 in Dakota

County, Minnesota, court file number, 19K6060022I116, knowingly possessed one or

more matters which contained visual depictions that had been mailed, shipped, and

transported using any means of and in and affecting interstate and foreign commerce,

including by computer, where the production of such visual depictions involved the use

of   a prepubescent   minor engaging in sexually explicit conduct and such visual depictions

were    of   such conduct,   all in violation of Title 18, United    States Code, Sections

225 2(a)@) (B    ) and 22s 2(b)(2)   .



                       '       FORFEITURE ALLEGATIONS

        Counts    I through 3 of this Indictment   are hereby realleged and incorporated as   if
fully set forth herein by reference, for the purpose of alleging forfeitures pursuant to Title

18, United States Code, Section 2253(a).

        As a result of the foregoing offenses, the defendant,

                                  GARY ROBERT DRAI(E,

shall forfeit to the United States pursuant to Title 18, United States Code, Section 2253(a):

        (l)      any visual depiction described in Section 2251,2251A,2252,2252A,22528

or 2260 of Chapter I 10 of Title 18, United States Code, or any book, magazine, periodical,

film, videotape, or other matter which contains any such visual depiction, which was

produced, transported, mailed, shipped or received in violation of Chapter 110 of Title 18,

United States Code:
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        (2)      any property, rcal or personal, constituting or'traceable to gross profits or

other proceeds obtained from such offenses; and

        (3)      any property, real or personal, used or intended to be used to commit or to

promote the commission of such offenses or any property traceable to such property,

including the following:

                 (a)        Hitachi ITB hard drive, serial number HZI2ZKBC;

                 (b)        Seagate   ITB hard drive, serial number Z1D1R8C9;

                 (c)        Velocity Computer Micro desktop computer, serial nurnber 810666;

                 (d)        Western Digital Easystore 1TB hard drive, serial number
                            WXCIA4TLNHKA; and

                 (e)        Gateway Windows         7     Computer, Model SX2803UB20P, serial
                            number, 11801997696.

        If   any of the above-described forfeitable property is unavailable for forfeiture, the

Ilnited States intends to seek the forfeiture of substitute property       as   provided for in Title

21, United States Code, Section 853(p), as incorporated by Title 18, United States Code,

Section 2253(b).

        All in violation of Title     18,   United States Code, Sections 2252(a)(\(B), 2252(b)(2),

and2253(a).


                                               A TRUE BILL




    LINITED STATES ATTORNEY                                           FOREPERSON




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